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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                                    Case No. 18-cr-20673
      v.                                            Hon. Matthew F. Leitman

MICHAEL GRANT,

     Defendant.
__________________________________________________________________/

      ORDER DENYING MOTION FOR EARLY TERMINATION OF
               SUPERVISED RELEASE (ECF No. 3)

      Defendant Michael Grant has filed a motion for early termination of

supervised release. After reviewing the motion, the Court learned that Grant violated

his conditions of supervised release by leaving this judicial district without

appropriate permission and by using marijuana. The marijuana use appears to be

recent and recurring. In light of these violations, the Court declines to terminate

Grant’s supervised release early. Moreover, the Court concludes that Grant would

benefit from continued drug testing and drug treatment, and that is another reason to

continue his supervised release. Accordingly, Grant’s motion for early termination

of supervised release is DENIED.

      IT IS SO ORDERED.
                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE
Dated: June 24, 2022

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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 24, 2022, by electronic means and/or ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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